               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 NICOLE BOETTGER,

                            Plaintiff,
                                                     Case No. 22-CV-1079-JPS

                                                            PRETRIAL
                                                 PROCEDURES ORDER
                                                      FOR CIVIL CASES
 v.
                                                     PENDING BEFORE
                                                 U.S. DISTRICT JUDGE
                                                  J.P. STADTMUELLER

 OPTIMUM OUTCOMES INC,

                            Defendant.



       This branch of the court has adopted a series of comprehensive

pretrial protocols addressed in the balance of this Order, each of which is

designed to ensure that each assigned civil case is both adequately and cost-

effectively prepared and, equally important, fully concluded within 12–14

months from the date of filing. Each of these protocols is in keeping with

the teachings of Federal Rule of Civil Procedure 1, which provides, in

relevant part, that the rules “should be construed, administered, and

employed by the court and the parties to secure the just, speedy, and

inexpensive determination of every action and proceeding.” Fed. R. Civ. P.

1 (emphasis added). Although parties involved in litigation remain free to

prolong their disputes so long as their resources and time permit, this Court

will not find itself cast in the role of providing a safe harbor to do so. At the

same time, mediocrity, animated with a lack of attention to detail, resulting



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in ineffective preparation and runaway costs, has no place in the skill set of

any practicing member of the bar holding themself out as an officer of the

Court.

         Accordingly,

         IT IS ORDERED that within two weeks of all named parties

entering their appearances, they shall submit a joint Rule 26 plan. The Court

will then issue a formal written trial scheduling order with dates consistent

with each of the requirements discussed below. Fed. R. Civ. P. 16(b)(1)(A).

In this regard, the only dates appearing in this Court’s trial scheduling

order include a cutoff date for dispositive motions and those associated

with the trial itself.

         IT IS FURTHER ORDERED that pro se litigants and counsel for the

parties meet and confer forthwith to address the substantial work necessary

for the orderly preparation of the case for trial, bearing in mind each of the

following protocols:

1.       MOTIONS TO DISMISS

         Should any defendant contemplate filing a motion to dismiss, or any

motion under Rule 12, the parties must meet and confer before the motion is

filed. The defendant(s) should take care to explain the reasons why they

intend to move to dismiss the complaint and/or file their Rule 12 motion,

and the plaintiff(s) should strongly consider filing an amended complaint.

         In addressing substantive motions to dismiss, or any motions

under Rule 12, the Court will consider only the facts as they appear in the

complaint; therefore, the parties should omit a facts section from their

briefing. The parties must also submit agreed-upon proposed jury

instructions detailing the elements of each claim and defense. The proposed

jury instructions must be tailored to the facts, edited, and formatted exactly
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as the parties would expect that they be delivered to a jury; form-book

citations are not acceptable substitutes. The proposed jury instructions

should be submitted as a separate filing. This exercise will help the parties

identify any deficiencies in the complaint and provide an excellent

blueprint for completion of relevant, narrowly tailored, discovery. In their

briefing, the parties should refer to the proposed jury instructions to guide

the Court through the relevant facts. Regrettably, all too often in today’s

world, pleadings and associated discovery have been relegated to little

more than obfuscation masquerading as a stream of consciousness.

       For jurisdictional motions to dismiss (e.g., those based on standing,

subject matter, and venue), the parties must meet and confer and provide a

single narrative statement of agreed-upon facts in paragraph form

addressing the jurisdictional issue. Again, the parties should omit a facts

section from their briefing. If any facts pertaining to jurisdiction are in

dispute, each party may submit a set of itemized disputed facts. These

itemized disputed facts may not exceed one (1) page per party. The parties

must certify in writing that they met and conferred prior to filing any

motion.

       In general, if a complaint can be remedied simply by adding more

detail, then the plaintiff(s) should either act preemptively to amend the

complaint or the parties should agree to proceed to the fact-finding portion

of the proceeding, e.g., summary judgment or trial. The Court expects this

exercise in efficiency will obviate the need to file most motions to dismiss

and/or motions under Rule 12. Indeed, when the Court grants a motion to

dismiss, it typically grants leave to amend; therefore, it is in everyone’s

interest to discuss the matter prior to the submission of a formal motion to

dismiss. Briefs in support of, or opposition to, motions to dismiss and/or
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motions under Rule 12 should cite no more than ten (10) cases per issue. No

string citations will be accepted.

2.      MOTIONS FOR SUMMARY JUDGMENT

        For summary judgment motions, the parties must meet and confer

at least thirty (30) days prior to filing such motion. Notwithstanding Civil

Local Rule 56(b), the parties must submit a single, agreed-upon statement

of facts, written in narrative, paragraph form, consisting of only material

facts and the minimum necessary contextualizing facts. The parties should

omit a facts section from their briefing; the Court will only consider the

single, agreed-upon statement of facts. Any disputed facts must be itemized

separately and supported by each party’s separate pinpoint citation to the

record. Itemized disputed facts may not exceed one (1) page per party. The

parties must certify in writing that they met and conferred prior to filing a

dispositive motion. If the parties cannot agree upon a set of facts, or if any

of the disputed facts are material, then summary judgment is not

appropriate. Fed. R. Civ. P. 56(a). In short, simply because the rules provide

for filing motions for summary judgment does not mean that the moving

party is obliged to do so.

        In addition to the joint statement of facts, the parties must also

submit an agreed-upon proposed set of jury instructions. Once again, the

proposed jury instructions must be tailored to the facts of the case, edited,

and formatted exactly as the parties expect that they would be delivered to

a jury and submitted as a separate filing. Again, simple form-book citations

are unacceptable substitutes. This exercise will help the parties distill their

statement of facts to only those facts considered relevant and material. In

their briefing, the parties should refer to the proposed jury instructions to

guide the Court through the relevant facts.
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        Parties may cite no more than ten (10) cases per issue on which the

party moves for summary judgment; responses are also limited to ten (10)

cases per issue. Reply briefs must conform with Civil Local Rule 56(b)(3)

and may not address issues beyond the scope of the opposition brief.

Additionally, although it should go without saying, the parties must have

actually read the cases to which they cite. No string citations will be

accepted. Equally important, as officers of the court, counsel for the

represented parties have an obligation to bring to the Court’s attention

contrary legal authority, together with an analysis suggesting the authority

may be inapplicable, or perhaps, wrongly decided.

3.      FINAL PRETRIAL REPORT

        All pro se parties and counsel who will actually try this case must

meet and confer in person with the goal of jointly preparing a single final

pretrial report. While the principal burden for filing the final pretrial report

typically rests with counsel for the plaintiff, if the plaintiff is proceeding pro

se, then defense counsel is responsible for filing the report electronically via

CM/ECF (although the plaintiff is nonetheless responsible for participating

in the preparation of the report). The Court further requires that the

principal attorney for each party—or the pro se litigant himself/herself—

attend the final pretrial conference in person. Consistent with the facts and

law applicable to the case, the final pretrial report must separately address

each of the nine (9) enumerated items found in Civil Local Rule 16(c)(1). In

addition, a hard copy of the report bearing the original inked signatures of

counsel and the pro se litigant who will actually try the case must be

delivered to the Court’s chambers, along with three (3) USB thumb drives,

each containing a complete, consolidated set of the parties’ exhibits,

including all documents and a photograph of each physical exhibit. The
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documents included on the thumb drives must be text-searchable. The

signed pretrial report and thumb drives are due at the same time as the

electronically filed version.

       In preparing the final pretrial report, counsel and their respective

clients and the pro se litigant should carefully read and study with care each

of the following ten (10) mandatory requirements:

   1. All exhibits must be marked and sequentially numbered in
      accordance with the procedure outlined in General L.R. 26. All
      exhibits must be disclosed, either in paper or electronic format, to the
      opposing party prior to the final pretrial conference. Given that the
      parties must produce their exhibits to the Court in electronic format,
      the Court encourages the parties to utilize electronic transfer for their
      own exchange. If an identical exhibit is to be used jointly by the
      parties during the course of trial, the exhibit should only be marked
      once, whether by the plaintiff(s) or defendant(s), and introduced into
      evidence once, whether by one party or jointly. Further, the parties
      must jointly prepare a single exhibit list. This exhibit list should be
      prepared using the “Exhibit and Witness List” form (AO-187) found
      on this District’s website on the “All Forms” page. The plaintiff’s or
      plaintiffs’ exhibits should be listed first, in numerical order, followed
      immediately by the defendant’s or defendants’ exhibits, in numerical
      order, and thereafter followed by a listing of the parties’ witnesses.
      The completed form should be e-mailed to the Court’s proposed
      order mailbox at the time the pretrial report is electronically filed.

   2. In designating an exhibit for trial, the designating party must have a
      good-faith basis to believe the exhibit will actually be necessary for
      use at trial.

   3. Save for essential physical exhibits, all evidence is to be presented in
      an electronic format. The parties should be mindful of this
      requirement during the discovery process. After the final pretrial
      conference is concluded, the Court’s information technology staff
      can provide a tutorial on interfacing with the Court’s electronic
      presentation system. The only printed copies of exhibits that should
      be brought to the courtroom for trial are: (a) those created for the
      parties’ own use at counsel’s table, and (b) a single copy of each

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    exhibit for the Court to provide to the jury for its deliberations (if
    necessary).

 4. A brief summary of the elements underlying each claim and defense
    to be adjudicated must be included in the final pretrial report and
    inserted immediately preceding the parties’ joint proposed jury
    instructions.

 5. Each of the parties’ agreed proposed jury instructions as well as the
    proposed verdict form must be appropriately tailored to the facts
    and law applicable to the case. Therefore, each proposed instruction
    as well as the verdict form must be tailored to the facts, edited, and
    formatted precisely as the parties would expect the instruction(s)
    and verdict to be submitted to the jury. Simple citations to form book
    instructions or verdict questions without more is wholly
    unacceptable. This branch of the Court has a longstanding policy of
    utilizing the Federal Civil Jury Instructions of the Seventh Circuit, to
    the extent they are applicable to the facts and legal issues attendant
    to the parties’ claims and defenses. If no Seventh Circuit instruction
    addresses the relevant issues, the Court generally relies on
    secondary authority, including O’Malley’s Federal Jury Practice and
    Instructions, and Matthew Bender’s Modern Federal Jury
    Instructions.

 6. In the event the parties are unable to agree upon a particular
    instruction or question in the verdict form in its entirety, the parties
    must include the separate proposed instruction(s) and/or verdict
    question(s) as part of the final pretrial report submissions. At the
    same time, each separately proposed instruction or proposed verdict
    question must be supported by a memorandum of law and, if
    appropriate, an offer of proof prepared by the party proposing the
    instruction and/or verdict question. The final pretrial report must
    also include a memorandum of law and, if appropriate, an offer of
    proof prepared by the party opposing the particular instruction
    and/or verdict question. To be clear, absolutely all briefing both in
    support of and in opposition to a proposed instruction or verdict
    question must be included in the final pretrial report. In accordance
    with Civil Local Rule 7(d), failure to file a memorandum in
    opposition to a particular instruction or verdict question will be
    deemed by the Court to be sufficient cause to grant the requested
    instruction or verdict question. The Court contemplates that the joint

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       drafting process for the instructions and verdict form, like the rest of
       the final pretrial report, will be conducted by the parties in person so
       that their differences on the instructions and verdict form may be
       fully and candidly discussed. Joint drafting also ensures that the
       parties will present concise arguments based on the actual, not
       anticipated, positions of their opponents.

   7. Any motions in limine should consist of one jointly drafted document
      signed by both parties. The motion should begin with a statement of
      the issue presented and a brief, neutral recitation of the relevant
      facts. The movant should then offer its arguments in favor of the
      motion, followed by the non-movant’s responses thereto. The Court
      contemplates that this joint drafting process will be conducted by the
      parties in person so that their differences on the subjects of the
      motions may be fully and candidly discussed. Joint drafting also
      ensures that the parties will present concise arguments based on the
      actual, not anticipated, positions of their opponents.

   8. Any Rule 702 motions should be accompanied by a supporting
      memorandum of law. Responses to any such motions must be filed
      within seven (7) days. No reply briefs are permitted. As with the
      motions in limine, the Court expects that the parties will confer in
      person prior to the filing of Rule 702 motions and fully explore their
      respective positions, so that the motions themselves will focus only
      on the precise areas of disagreement.

   9. The parties have an obligation to discuss the anticipated filing of
      pretrial motions directly with opposing counsel, as, more often than
      not, such matters are best resolved informally with open
      communications between the parties without the necessity of court
      intervention. The Court notes that “to discuss” requires actual
      discussion with suggestions for genuine compromise, as opposed to
      mere e-mail wars of words between the parties. Therefore, when
      filed, all pretrial motions must include a separate certification1
      prepared by the movant’s stating that, after personal consultation
      with the party opposed to the motion, and after sincere attempts to
      resolve their differences, the parties are unable to reach an accord.
      The certification must also recite the dates and times of such


       1The certification must be docketed separately and should not be hidden
within a motion or a brief.
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    conferences and the names of all participants. To be clear, the Court
    expects the parties to confer several times and document those
    conferences before raising a pretrial motion before the Court. The
    failure to comply with the letter or the spirit of this rule will be
    sufficient grounds to deny the motion.

 10. With regard to memoranda of law submitted to the Court in
     reference to disputed jury instructions or verdict questions, or a
     pretrial motion, the Court makes the following suggestions, which
     will serve to aid the Court in efficiently addressing such matters:

       a. If the parties intend to file deposition testimony, the parties
          should e-file a single transcript of the deposition testimony of
          each witness upon which they intend to rely. Any party citing
          to a given deponent’s testimony should cite only to the docket
          entry containing said deponent’s testimony, enabling the
          Court to easily locate that deposition, instead of engaging in
          an archeological dig to locate the source from which the
          specific excerpt may have been drawn.

       b. Any exhibit or report submitted in support of or in opposition
          to a party’s position should be e-filed in its entirety in a single
          entry, and any party citing to an exhibit or report should cite
          only to the one entry containing said report.

       c. All parties should agree on a given citation system. No party
          should refer to a document by a different moniker than that
          by which the other parties refer to the same document. The
          Court strongly encourages the parties to include the docket
          number (and, if applicable, exhibit letter/number) of
          documents cited in their submissions. The Court also
          encourages the parties, if they are filing numerous exhibits as
          attachments to their motions, to include an index attached to
          the motion that notes the title of the exhibits that follow.
          When viewing the electronic docket, it should be obvious
          which documents are responsive to (or in support of) another
          document, as well as the identity of such other document.

       d. All documents submitted to the Court electronically should
          be in an electronically-searchable format. If any documents
          are filed under seal, a thumb drive containing electronically-
          searchable PDF versions of the files should be provided to the
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              Clerk’s Office so that the Court will have access to all the
              documents, including those filed under seal, in an
              electronically searchable format.

          e. The parties shall not deliver additional courtesy copies of
             submissions to the Judge’s chambers unless specifically
             directed to do so in accordance with the terms of this Order.

       As the parties and their counsel and pro se litigants endeavor to

complete their work associated with the preparation of the final pretrial

report, they are expected to confer in a candid, open manner, and make a

good faith effort toward settlement of the case in its entirety.

4.     SETTLEMENT AND MEDIATION

       In recognition of the Court’s limited resources and an ever

burgeoning case load assigned to this branch of the Court, together with the

continued escalating costs associated with litigation, the Court finds it

prudent to require that counsel and their respective clients and pro se

litigants seriously undertake all appropriate measures, including utilizing

the services of a randomly assigned magistrate judge, or another outside,

third party neutral agreed upon by the parties, to bring the case to

conclusion short of trial. In the event counsel and their respective clients

and pro se litigants wish to avail themselves of the services of the randomly

assigned magistrate judge, they are reminded that, like district judges,

magistrate judges have very busy calendars. Therefore, in order to ensure

timely scheduling of one or more mediation sessions suitably in advance of

the scheduled trial date, counsel and pro se litigants must take appropriate

steps to jointly request that the Court make such a referral.

       Accordingly, the Court finds it prudent to direct that counsel for the

parties and the pro se litigants confer forthwith to explore settlement, and,

if appropriate, utilize the services of the randomly assigned magistrate

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judge or other third party neutral for purposes of conducting one or more

settlement conferences. However, the Court preemptively warns the parties

that it will not stay the trial or any other deadlines while the parties explore

settlement in this matter. The Court will further direct that the parties file

with the Court interim and final settlement reports generally summarizing

any progress made as of the report due date, including the date(s) the

parties actually met and conferred. If the plaintiff is proceeding pro se, then

defense counsel is responsible for filing these reports electronically via

CM/ECF, although the plaintiff is nonetheless responsible for participating

in the preparation of the reports. Such reports shall be filed using a case-

participant-only restriction so that access is restricted to the Court and

counsel for the parties. Gen. L.R. 79(d). No separate motion to seal/restrict

the settlement reports is necessary.

5.     DATES

       Upon receiving the parties’ joint Rule 26 plan, the Court will issue a

written trial scheduling order with the dates for the requirements discussed

above. Where not otherwise specified by the Court, the parties should

follow the standard deadlines as set by the Federal Rules of Civil Procedure

and the local rules. As will be reiterated in the Court’s trial scheduling

order, motions for extensions of time will not be looked upon favorably.

Motions to extend are always considered but rarely granted. The parties

and their counsel and pro se litigants are bound by the dates set in the

forthcoming trial scheduling order, and no extensions or continuances will

be granted without good cause shown.

       Finally, the Court readily acknowledges and well appreciates the

fact that, in this branch, preparation of a case requires a substantial

commitment of time and resources. The parties ought not treat the Court’s
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directives lightly. In the final analysis, adequate preparation remains the

hallmark of an effective advocate, and while every litigant is entitled to

their day in court, they are not entitled to intrude upon someone else’s day

in court. The Court has attached copies of certain procedural rules, as well

as a monograph prepared by court staff to address common questions that

arise in pro se civil litigation. This monograph, entitled “Answers to Pro Se

Litigants’ Common Questions,” contains a wealth of information that the

pro se litigant may find useful in prosecuting this case.

       The parties are encouraged to contact chambers should they have

any questions about the matters addressed herein.

       Dated at Milwaukee, Wisconsin, this 20th day of September, 2022.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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